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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Chicora Life Center, LC                                                        UCF 1 Trust 1


ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
G. William McCarthy, Jr., I.D. #2762                                           Stanley H. McGuffin, Esq.
1517 Laurel Street, Columbia, SC 29201 / (803) 771-8836                        1201 Main Street, 22nd Floor, Columbia, SC 29201

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Temporary Restraining Order/Preliminary Injunction




                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                 1 71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $
Other Relief Sought
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  B1040 (FORM 1040) (12/15)

                    BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                      BANKRUPTCY CASE NO.
Chicora Life Center, LC                            16-02447-jw
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
South Carolina                                                         Charleston                        Honorable John E. Waites
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


        /s/G. William McCarthy, Jr.


DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
                                                                       G. William McCarthy, Jr.
June 1, 2016



                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
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                       UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF SOUTH CAROLINA

In re,
                                                             C/A No. 16-02447-jw
Chicora Life Center, LC,
                                                       Adv. Pro. No. 16-__________-jw
                                     Debtor.
                                                                   Chapter 11
Chicora Life Center, LC,

                                    Plaintiff,

v.

UCF 1 Trust 1,

                                  Defendant.

         EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
               AND MOTION FOR PRELIMINARY INJUNCTION

         Chicora Life Center, LC (“Debtor”) as debtor in possession moves the Court for

entry of a Temporary Restraining Order (“TRO”) preventing the Defendant, UCF 1 Trust 1

(“UCF”), from filing any action seeking to collect on the springing personal guaranty of

Douglas M. Durbano (“Guarantor”) as set forth more fully herein, and seeks the scheduling

of a hearing on the Motion for Preliminary Injunction within fourteen (14) days and entry of

a Preliminary Injunction as set forth herein to maintain the status quo pending this Court’s

consideration of the Debtor’s Chapter 11 Plan of Reorganization. In support of the Motion,

the Debtor respectfully submits the Affidavits attached hereto and the following facts, law

and argument:

                                           FACTS

     1. On May 16, 2016, the Debtor voluntarily filed a petition for relief pursuant to

Chapter 11 of the United States Bankruptcy Code. The Debtor is operating its business and
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managing its assets as debtor in possession pursuant to §§ 1107(a) and 1108 of the

Bankruptcy Code.

   2. This Court has subject matter jurisdiction over the Motion pursuant to 28 U.S.C. §

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(O). The Court can

exercise its subject matter jurisdiction pursuant to 28 U.S.C. § 157(b)(1). Venue of these

proceedings and the Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and

1409.

   3. As of the filing of this Motion, no committee has been appointed to represent the

interest of unsecured creditors in this case pursuant to § 1102(a) of the Bankruptcy Code.

   4. The Debtor owns and operates the Chicora Life Center (the “Center”), a 400,000

square foot facility that contains medical offices, office space, retail space, and public space,

which occupies the site of the old naval hospital in North Charleston, South Carolina. The

Center will serve as a social services hub, featuring myriad social, non-profit and care

facilities – all in one building centrally located in Charleston County.

   5. The Debtor’s schedules show indebtedness of $14,997,444.16 to UCF secured by a

mortgage on the Center.

   6. On or about May 20, 2016 counsel for UCF notified Guarantor of a springing

guaranty found in certain sections of the loan agreement between UCF and the Debtor, and

further made demand on Guarantor for payment in full of $15,621,550.29 on or before June

1, 2016.

   7. Debtor intends to file a Plan of Reorganization, which will call for a cash infusion

from Guarantor, personally, in the approximate amount of $1,000,000 for the purposes of

prospective tenant improvements to the facility.




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   8. The Debtor seeks injunctive relief preventing UCF from bringing suit against

Guarntor, which will cause irreparable harm to the Debtor’s ability to sucessfully effectuate

a Plan of Reorganization.

   9. The specific facts showing irreparable harm are set forth in the affidavit of Douglas

M. Durbano accompanying this motion.

                                            LAW

       Rule 65 of the Federal Rules of Civil Procedure, made applicable to adversary

proceedings pursuant to Rule 7065 of the Federal Rules of Bankruptcy Procedure, provides

that a court may issue a TRO if “(A) specific facts in an affidavit or a verified complaint

clearly show that immediate and irreparable injury, loss, or damage will result to the movant

before the adverse party can be heard in opposition; and (B) the movant’s attorney certifies

in writing any efforts made to give notice or the reasons why it should not be required.”

Fed. R. Civ. P. 65(b)(1).

       When considering a motion for preliminary injunction, “[t]he Bankruptcy Court must

determine four factors: (1) whether the plaintiff has shown a strong likelihood or probability

of success on the merits; (2) whether the plaintiff has shown irreparable injury; (3) whether

the issuance of a preliminary injunction would cause substantial harm to others; and (4)

whether the public interest would be served by issuing a preliminary injunction.”

McCullough v. Dubose (In re Pegasus Management and Investment, Inc.), C/A No. 05-

06152-W; Adv. Pro. No. 05-80172-W (Bankr. D.S.C. June 20, 2005) (quoting In re Fisher,

80 B.R. 58, 60 (Bankr. M.D.N.C. 1987)). Harm to the plaintiff and the defendant are the

most important factors. Anderson v. Blair (In re Blair), C/A No. 99-08835-W, Adv. Pro.

99-80410-W (Bankr. D.S.C. Jan. 27, 2000). When the balance of hardships does not lean




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decidedly in favor of the plaintiff, then a stronger showing of likelihood of success on the

merits is required. See Microstrategy Inc. V. Motorola, Inc., 245 F.3d 335 (4th Cir. 2001);

Direx Israel, Ltd. v. Breaktrhough Medical Corp., 952 F.2d 802 (4th Cir. 1991).

       A bankruptcy court has jurisdiction to enjoin proceedings against non-bankruptcy

co-defendants pursuant to § 105(a) of the Bankruptcy Code, as well as on the general

equitable powers of the bankruptcy court under 28 U.S.C. § 1334. A.H. Robins Company,

Inc. v. Piccinin, 788 F.2d 994, 999 (4th Cir. 1986). Acting under § 105, a bankruptcy court

may enjoin a creditor from proceeding to enforce personal guarantees of the debtor’s

obligations when such enforcement injures the debtor’s bankruptcy estate. In re Litchfield

Co. of South Carolina Ltd. Partnership, 135 B.R. 797, 806 (W.D.N.C. 1992); In re Lahman

Mfg. Co., Inc., 33 B.R. 681, 682-84 (Bankr. D.S.D. 1983); In re Otero Mills, Inc., 21 B.R.

777, 778 (Bankr. D.N.M.), aff’d, 25 B.R. 1018 (D.N.M 1982).

       The power to temporarily enjoin litigation against nondebtor principals of a
       corporate Chapter 11 debtor during the pendency of the reorganization case
       is a valid and useful exercise of Section 105. Used sparingly and judiciously,
       it protects the integrity of the reorganization process by restraining serious
       interference with the administration of the estate. The judicial discretion to
       enter a stay under Section 105, however, is susceptible to abuse. The burden
       is on the debtor to clearly establish the necessity for injunctive relief. This
       will ordinarily require convincing evidence of an adverse impact on the
       debtor’s estate which seriously threatens the debtor’s ability to formulate and
       carry out a plan of reorganization.

In re Arrow Huss, Inc., 51 B.R. 853, 859 (Bankr. D. Utah 1985).

                                      DISCUSSION

I.     Notice for TRO.

       The undersigned attorney for the Debtor certifies that notice of the filing of the

Motion has been served on the Defendant and on the attorney for the Defendant as set forth

in the Certificate of Service, filed simultaneously herewith. In addition to service by First



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Class Mail, the undersigned e-mailed a copy of the Motion, with the supporting affidavits

and the proposed Temporary Restraining Order, to the attorney for the Defendant on the

same day as it was filed.

II.    Irreparable Harm to the Estate.

       Irreparable harm to a debtor’s estate may be found where the guarantor’s assets

would not be available to fund the plan.          Otero Mills, 21 B.R. at 778.     Often the

determination of harm to the estate rests on the ability to fund a plan. In Century Machine

Tools Inc., the request for injunctive relief to enjoin a bank from proceeding versus the

debtor’s president and majority stockholders was denied where there was no showing that an

injunction would restore the debtor’s ability to borrow money. 33 B.R. 606 (Bankr. S.D.

Fla. 1983). Additionally, irreparable harm may be incurred by a debtor when the action

sought to be enjoined would so consume the time, energy, and resources of the debtor’s

principals that it would substantially harm the debtor’s reorganization effort. Matter of

Johns-Manville, 26 B.R. 405, 419 (Bankr. S.D.N.Y. 1983).

       The Debtor’s plan of reorganization, which will be filed on or before August 14,

2016, will outline the process for bringing the Center to full occupancy. The Center will be

aggressively marketed to potential tenants. As tenants execute leases, tenant improvements

for their leased space will be completed before the tenant takes occupancy. After about half

of the space is leased, the Center will qualify for commercial financing. But until that time,

both the tenant improvements and the ongoing operating expenses must be funded by

alternate means.    In this case, Guarantor has committed to the personal infusion of

$1,000,000 for the purposes of operations and for funding the necessary building

improvements to bring the Center to full occupancy. Such improvements will occur as




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leases are obtained but before the tenant takes occupancy, as the construction would disrupt

tenants ability for peaceful enjoyment of their leased property. Further, the energy, input,

and resources of Guarantor are necessary to this Debtor’s reorganization effort.

III.   Lack of Harm to UCF

       In this matter, UCF is a first position secured creditor on real property that is valued

in significant excess of UCF’s lien.        As of May 20, 2016, UCF claimed to be owed

$15,621,550.29, which includes interest, fees and outstanding invoices added to the

outstanding principal amount due of $13,900,000. Upon information and belief, the value of

the Debtor’s real property is in the range of $29,000,000 - $42,000,000. Based upon the

equity cushion protecting UCF’s interest, there is little risk of irreparable harm to UCF by

granting the injunctive relief requested.

IV.    Likelihood of Success on the Merits

       In the context of a bankruptcy matter, the likelihood of success on the merits, means

the probability of a successful plan of reorganziation. In re Lamar Estates, 5 B.R. 328, 331

(Bankr. E.D.N.Y. 1980). This Debtor is a single asset real estate entity that intends to file a

plan on or before August 14, 2016 when due, and the debtor is entitled to present a plan that

can be considered by all the creditors. The Debtor was in bankruptcy for less than one week

when UCF began its attempts to threaten and pressure Guarantor. The bankruptcy was

precipitated by the attempted termination of the lease of the Center’s anchor tenant, so the

focus of the plan of reoganization will be obtaining replacement tenants. Based upon the

total debt outstanding and the value of the Debtor’s real property, the likelihood of

successful reorganization should weigh in favor of the Debtor. But if UCF is allowed to

proceed against the Guarantor, the Debtor will not be able to file a successful plan of




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reorganization. See Lahman, 33 B.R. 681, 685 (precluding action on a personal guaranty

where the debtor’s plan was not yet due but collection action was threatened because “if the

bank is allowed to proceed on the guarantees, the debtor’s ability to file a successful plan

will be significantly, if not totally, impaired because of the unavailability of credit.”). The

exact same basis for the injunction granted in Lahman exists in this case with the Debtor and

this guarantor.

V.      Public Interest

        The public interest here rightfully focuses on the promoting of a successful

reorganziation, which is a paramount concern of the bankruptcy court. Otero Mills, Inc., 25

B.R. 1018, 1021. Here the threatened action against Guarantor should be enjoined to allow

the Debtor through the significant contributions of Guarantor to have a meaningful attempt

at reorganization, a reorganization that will bring significant benefit to the community in

which the Center is located. This is a single asset real estate case which calls for a plan of

reorganization to be filed on or before August 14, 2016 and plan confirmation will likely be

heard in October 2016.

                                       CONCLUSION

        The Debtor requests that the Court enter an order enjoining UCF from bringing a

collection action against Guarantor based upon his springing guaranty of the Debtor

pursuant to 11 U.S.C. § 105(a), Fed. R. Bankr. P. 7001(7), Fed. R. Bankr. P. 7065, and Fed.

R. Civ. P. 65.

        WHEREFORE, the Debtor respectfully requests the following:

     1. That the Court enter a Temporary Restraining Order, ex parte, preventing UCF from

        pursuing an action against Guarantor based upon the springing guaranty;




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   2. That the Court set a hearing on the Motion for Preliminary Injunction within fourteen

      (14) days;

   3. That, upon a hearing of the matter, the Court enter a Preliminary Injunction

      preventing UCF from pursuing an action against Guarantor through the Court’s

      consideration of the Debtor’s initial plan of reorganziation; and

   4. For such other and further relief as the Court deems fit, just, and proper.

   RESPECTFULLY SUBMITTED on this 1st day of June, 2016, at Columbia, South

   Carolina.

                                             McCARTHY LAW FIRM, LLC

                                             /s/ G. William McCarthy, Jr.
                                             G. William McCarthy Jr. (2762)
                                             Daniel J. Reynolds, Jr. (9232)
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